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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

         In re:                                   §           Chapter 11
                                                  §
         KRISJENN RANCH, LLC, et al               §           Case No. 20-50805
                                                  §
         Debtor                                   §           (Jointly Administered)

        FIRST INTERIM APPLICATION FOR PAYMENT OF ATTORNEY’S FEES BY
       THE SMEBERG LAW FIRM, PLLC, ATTORNEY FOR KRISJENN RANCH, LLC,
        KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND KRISJENN RANCH,
             LLC, SERIES PIPELINE ROW, DEBTORS-IN-POSSESSION, FOR
                    PROFESSIONAL SERVICES RENDERED FROM
                     APRIL 27, 2020 THROUGH OCTOBER 31, 2021
  ******************************************************************************

  THIS APPLICATION REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
  INTERESTS. IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY-ONE (21)
  DAYS FROM THE DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE
  GRANTED WITHOUT A HEARING BEING HELD. RESPONSES OR OBJECTIONS
  MUST BE IN WRITING AND FILED WITH THE COURT IN ORDER TO SEEK A
  HEARING ON THIS APPLICATION.

  ******************************************************************************

         1.       The Smeberg Law Firm, PLLC has applied for professional compensation in the

  amount of $90,643.00 in fees and $1,778.59 in administrative expenses for a total amount

  requested of $92,421.59.

         2.       The time period covered is April 27, 2020, through October 31, 2021.

         3.       The movant is the attorney for KrisJenn Ranch, LLC, KrisJenn Ranch LLC,

  Series Uvalde Ranch, and KrisJenn Ranch, LLC, Series Pipeline Row (collectively, the

  “Debtors”), the Debtors and Debtors-in-Possession.

         4.       This is the first interim application.

         5.       The movant has not previously received fees and expenses post-petition.
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         6.      The movant received an original retainer of $24,000.00, which was applied as
  follows:

                 a.     $1,717.00 of the retainer was applied toward the case filing fee and
                        $18,283 was applied to prepetition fees leaving a balance of $4,000.00
                        held in trust.

         7.      After the original retainer, Ronald Smeberg has received $54,096.80 for work that

  he had completed or attorneys working for him had completed. The remaining amount due to the

  Smeberg Law Firm for work under this application is $38,324.79.


         8.      The hourly rates charged for attorneys are $325.00/hour for senior attorneys,

  $250/hour for junior attorneys, and $120/hour for paralegals and law clerks.

     Dated: November 10, 2021



                                               Respectfully Submitted,

                                               THE SMEBERG LAW FIRM, PLLC.

                                               By:    /s/ Ronald J. Smeberg
                                              RONALD J. SMEBERG
                                              State Bar No. 24033967
                                              4 Imperial Oaks
                                              San Antonio, Texas 78248
                                              (210) 695-6684, Telephone
                                              (210) 598-7357, Facsimile
                                              ron@smeberg.com
                                              ATTORNEY FOR DEBTORS




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                                  CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the First Interim Application for
     Payment of Attorney’s Fees by The Smeberg Law Firm, PLLC, Attorney for KrisJenn Ranch,
     LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch, LLC, Series Pipeline
     Row, Debtors-in-Possession, was served by electronic mail through the Court’s ECF system
     to all parties who have registered an appearance in this case and forwarded to all parties listed
     on the attached Service List, by first class mail, postage prepaid, on November 10, 2021.

                                                    /s/ Ronald J. Smeberg
                                                   RONALD J. SMEBERG




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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

         In re:                                §              Chapter 11
                                               §
         KRISJENN RANCH, LLC, et al            §              Case No. 20-50805
                                               §
         Debtor                                §              (Jointly Administered)

        FIRST INTERIM APPLICATION FOR PAYMENT OF ATTORNEY’S FEES BY
       THE SMEBERG LAW FIRM, PLLC, ATTORNEY FOR KRISJENN RANCH, LLC,
        KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND KRISJENN RANCH,
             LLC, SERIES PIPELINE ROW, DEBTORS-IN-POSSESSION, FOR
                    PROFESSIONAL SERVICES RENDERED FROM
                     APRIL 27, 2020 THROUGH OCTOBER 31, 2021

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Now comes Ronald J. Smeberg of The Smeberg Law Firm, PLLC (“Applicant”), attorney

  for KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch, LLC,

  Series Pipeline Row (collectively, the “Debtors”), the Debtors and Debtors-in-Possession,

  pursuant to 11 U.S.C. §§ 503(b)(2), and 507(a)(1) as a priority administrative expense and states:

                                       I.   INTRODUCTION

         Applicant seeks from the bankruptcy estate, payable as an administrative expense,

  professional fees of $90,643.00 and $1,778.59 in administrative expenses for a total amount

  requested of $92,421.59 for the time-period April 27, 2020, through October 31, 2021

  (“Compensation Period”).

                       II.   BANKRUPTCY RULE 2016 REQUIREMENTS

         1.       Muller Smeberg, PLLC was appointed on April 27, 2020.

         2.       On November 18, 2020, Applicant submitted Notice of Change of Firm Name

  [Doc. No. 92] from Muller Smeberg, PLLC to The Smeberg Law Firm, PLLC.

         3.       On April 27, 2020, Debtors filed the Motion for Order Establishing Procedures for
                                                   -1-
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  Interim Compensation and Reimbursement of Professionals [Doc. No. 6] (the “Interim Fee

  Procedure Motion”), wherein the Debtors sought to establish a procedure for estate professionals

  to receive a monthly payment of 80% of fees and 100% of expenses. All professional services for

  which an allowance is requested were performed by Applicant for and on behalf of Debtors and

  not on behalf of any other person. This application seeks approval of fees of Applicant.

         4.      On May 21, 2020, the Court entered the Order Establishing Procedures for Interim

  Compensation and Reimbursement of Professionals [Doc. No. 35] (the “Fee Procedure Order”),

  wherein the Court approved the payment of monthly fee procedures. Ronald Smeberg or the

  Smeberg Law Firm has received a total of $54,096.80 for fees related to the Application with

  $38,324.79 still remaining outstanding.

         5.      Applicant has not received any payment in addition to the pre-petition amounts

  shown above.

                            III.    JOHNSON FACTORS ANALYSIS

         Applicant requests compensation based on the factors set forth in 11 U.S.C. §§ 330(a)(3)

  and Johnson v. Georgia Highway Express, Inc. 488 F.2d 714, 717-19 (5th Cir. 1974). These

  factors include the following:

     1. Time and Labor Required. A description of the time and labor sorted by

  category of activity of Applicant appears in Exhibit A.

     2. The Skill Required to Perform the Legal Services Provided. It is necessary that

  the Debtors’ attorney be well versed with the Debtors’ situation to efficiently represent

  them. Attorney Ronald Smeberg has successfully prosecuted numerous small business chapter

  11 bankruptcies and has the necessary skills to provide the services needed in this case.

     3. The Preclusion of Other Employment by the Attorney Due to Acceptance of the


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  Case.   Applicant has not turned down any specific cases as a result of undertaking this

  representation.

     4. The Customary Fee. The compensation sought herein is comparable to the fees

  charged by other attorneys of comparable experience.

     5. Whether the Fee is Fixed or Contingent. The fee is fixed at $325.00 per hour for

  senior attorneys, $250.00 per hour for junior attorneys, and $120.00 per hour for paralegals and

  law clerks. This case was not taken on a contingent basis.

     6. Time Limitations by the Client or Other Circumstances. Not applicable.

     7. The Experience, Reputation and Ability of the Attorneys. Applicant’s primary

  attorney working on this case has been Ronald J. Smeberg. Debtors have selected Ronald J.

  Smeberg because of his experience and knowledge in the field of Debtors’ rights under the

  United States Bankruptcy Code and his representation of the Debtors prior to the filing of his

  Chapter 11 petition. During the Course of preparing for Debtors’ Chapter 11 case, Mr. Smeberg

  has prepared the initial pleadings on behalf of the Debtors, has gained experience as to the

  Debtors’ property, and has become familiar with many of the pertinent legal issues which may

  arise in the context of the Debtors’ Chapter 11 case.

     8. The “Undesirability” of the Case.       The case is not undesirable.

     9. Nature and Length of the Professional Relationship with the Client.                Muller

  Smeberg, PLLC was retained by Debtors for representation on March 11, 2020. Notice of

  Change of Firm Name was filed with the Court on November 18, 2020 [Doc. No. 92].

     10. Results Obtained. The Smeberg Law Firm, PLLC has participated in assisting the

  Debtors with administration of the estate including preparing schedules, preparing and

  prosecuting first day motions, reviewing Monthly Operating Reports, assisting Debtor with


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  analyzing and correcting financials, negotiating with creditors, negotiating with the United

  States Trustee, prosecuting motions to employ professionals, representing Debtor at various

  hearings, and drafting Debtor’s plan of reorganization.

     11. Awards in Similar Case. Applicant believes that the amount requested is similar or

  less than what other attorneys of similar experience would charge in similar cases.

     12. Travel Time. Billing for travel time is minimal compared to services rendered.

     13. Other Factors.      There are no other factors of particular importance to the fee

  request.

                                           IV.     PRAYER

         Wherefore, pursuant to 11 U.S.C. §§ 303(a)(1) and 331, the Applicant respectfully

  requests the approval of the first interim fee application of The Smeberg Law Firm, PLLC for

  payment of professional fees of $90,643.00 and payment of administrative fees of $1,778.59

  for a total administrative expense claim under 11 U.S.C. §§ 503(a) of $92,421.59 and for

  all other relief to which the Applicant shows itself justly entitled.


     Dated: November 10, 2021

                                                 Respectfully Submitted,

                                                 THE SMEBERG LAW FIRM, PLLC.

                                                 By:    /s/ Ronald J. Smeberg____
                                                 RONALD J. SMEBERG
                                                 State Bar No. 24033967
                                                 4 Imperial Oaks
                                                 San Antonio, Texas 78248
                                                 (210) 695-6684, Telephone
                                                 (210) 598-7357, Facsimile
                                                 ron@smeberg.com
                                                 ATTORNEY FOR DEBTORS


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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the First Interim Application for Payment
  of Attorney’s Fees by The Smeberg Law Firm, PLLC, Attorney for KrisJenn Ranch, LLC,
  KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch, LLC, Series Pipeline Row,
  Debtors-in-Possession, was served by electronic mail through the Court’s ECF system to all parties
  who have registered an appearance in this case and forwarded to all parties listed on the attached
  Service List, by first class mail, postage prepaid, on November 10, 2021.

                                                   /s/ Ronald J. Smeberg
                                                  RONALD J. SMEBERG




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                                                    EXHIBIT A
                                                Chapter 11 Bankruptcy

            GENERAL, MISCELLANEOUS LEGAL SERVICES
            FOR PROFESSIONAL SERVICES RENDERED

                                                                                                             AMOUNT
 DATE             USER                                 DESCRIPTION                          TIME   RATE       OWED
4/27/2020       Craig O'Neil      Letter to Opposing counsel regarding proper filing.         1    $250.00    $250.00
                                  Review version 2 and version 3 of letter to opposing
4/27/2020       Craig O'Neil      counsel regarding proper filing.                           0.3   $250.00    $75.00
4/27/2020       Craig O'Neil      Review emails from opposing counsel.                       0.3   $250.00    $75.00
                                  Review legal bills for Black Duck from Boerner,
4/27/2020       Craig O'Neil      Douglas, & Franklin, and George Pigg.                      0.4   $250.00    $100.00
                                  Final revisions to first day motions; confer with R.
                                  Smeberg; prepare envelopes for mail out; calendar of
4/27/2020     Denielle Anguiano   all hearings.                                              1.2   $120.00    $144.00
                                  Prepare Notice of Bankruptcy Filings for Panola &
4/27/2020     Denielle Anguiano   Shelby County cases; file.                                 0.5   $120.00    $60.00
                                  Conduct search in South Carolina SOS for registered
4/27/2020     Denielle Anguiano   agent in DMA properties; send to C. O'Neil.                0.2   $120.00    $24.00
                                  Email all parties of interest file stamped pleadings;
4/27/2020     Denielle Anguiano   Mail out of first day motions; take to post office.        1.7   $120.00    $204.00
                                  Draft notice of hearings; confer with R. Smeberg; file
4/27/2020     Denielle Anguiano   and add to bulk mail out.                                  0.8   $120.00     $96.00
4/27/2020     Denielle Anguiano   Finalize of categorizing client documents.                 1.5   $120.00    $180.00
                                  Confer w R. Smeberg; Prepare notices of bankruptcy
4/27/2020      Paige Burough      filing for state court in Longbranch and Bigfoot cases.    1.1   $120.00    $132.00
                                  Finalize cash collateral, motion to employ, motion
                                  regarding payment of professionals, motion to incur
                                  debt, both motions to expedite and all orders; file
4/27/2020     Ronald Smeberg      motions with the Court.                                    2.2   $325.00    $715.00
                                  Conference with law clerk regarding notice of
                                  bankruptcy filings; review notices and give staff
4/27/2020     Ronald Smeberg      directions regarding changes.                              0.3   $325.00    $97.50
                                  Prepare 2004 letters for Certified Mailing; minor
4/28/2020     Denielle Anguiano   revisions to cover letter and take to post office.         0.8   $120.00    $96.00
                                  Confer with R. Smeberg regarding new filing; open
4/28/2020     Denielle Anguiano   case and copy case information.                            0.5   $120.00     $60.00
4/28/2020      Ronald Smeberg     Review hundreds of emails for privilege and disclosure.    2.4   $325.00    $780.00
4/28/2020      Ronald Smeberg     Research series LLC filing issues.                         1.2   $325.00    $390.00
                                  Research substantive consolidation and series in
4/28/2020     Ronald Smeberg      bankruptcy.                                                0.7   $325.00    $227.50
                                  Numerous conferences with Larry Wright; conferences
                                  with David Strolle; conferences with John Muller;
4/28/2020     Ronald Smeberg      conference with Tim Cleveland and Andy Seger;              3.5   $325.00   $1,137.50

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                                conference with Laura Worsham; conference with
                                Michael Black.
                                Email Tim Cleveland; email exchange with UST; email
4/28/2020   Ronald Smeberg      John Muller.                                              0.4   $325.00   $130.00
4/28/2020   Ronald Smeberg      Conference with Michael Black.                            0.3   $325.00    $97.50
                                Case law research on the doctrine of substantive
4/29/2020     Craig O'Neil      consolidation.                                            2     $250.00   $500.00
                                Discuss substantive consolidation law with R.
4/29/2020     Craig O'Neil      Smeberg.                                                  0.3   $250.00   $75.00
                                Assign D. Anguiano task to pull documents from Pacer
4/29/2020     Craig O'Neil      regarding substantive consolidation.                      0.1   $250.00   $25.00
                                Scan and save client documents; file declaration of
                                electronic filing and amend certificate of service with
4/29/2020   Denielle Anguiano   recent notice parties.                                    0.5   $120.00   $60.00
                                Confer with C. O'Neil regarding case law; review
                                docket of case No. 18-12442; download docket and
4/29/2020   Denielle Anguiano   pleading and send to counsel.                             0.5   $120.00   $60.00
                                Meet with Larry Wright; prepare for hearing;
                                conference with Tim Cleveland; attend hearing by
4/29/2020   Ronald Smeberg      phone.                                                    1.3   $325.00   $422.50
                                Download electronic schedules; File amended A/B and
4/30/2020   Denielle Anguiano   Edec.                                                     0.3   $120.00   $36.00
                                Attention to Black Duck formation documents left by
4/30/2020   Denielle Anguiano   client. Scan, rename and save.                            1.2   $120.00   $144.00
                                Research running with the land; privity with the land;
4/30/2020   Ronald Smeberg      and parole evidence rule.                                 1.4   $325.00   $455.00
                                Continue research and analysis of substantive
5/1/2020      Craig O'Neil      consolidation with our facts.                             2     $250.00   $500.00
                                Research on Texas Business Organizations Code and
5/1/2020      Craig O'Neil      its interplay with Series LLC filing bankruptcy.          1.5   $250.00   $375.00
                                Conference with Michael Black; detailed email to
                                parties regarding settlement. Download summons and
5/1/2020    Ronald Smeberg      send staff instructions on service.                       0.7   $325.00   $227.50
5/2/2020     Craig O'Neil       Draft Motion seeking substantive Consolidation.           2.3   $250.00   $575.00
                                Discuss EFT option with D. Anguiano and respond to
5/2/2020      Craig O'Neil      Eric on signatures.                                       0.2   $250.00   $50.00
                                Conference with Larry Wright; conference with
5/4/2020    Ronald Smeberg      Michael Black.                                            0.2   $325.00   $65.00
                                Review final version of response to motion split or
5/10/2020     Craig O'Neil      dismiss and discuss evidence with R. Smeberg.             0.4   $250.00   $100.00
5/10/2020     Craig O'Neil      Review emails between R. Smeberg and client.              0.1   $250.00    $25.00
                                Review case law in response to motion to dismiss with
5/10/2020     Craig O'Neil      R. Smeberg.                                               0.1   $250.00   $25.00
                                Edit latest version of Response to Motion to Dismiss or
5/11/2020     Craig O'Neil      Split.                                                    0.4   $250.00   $100.00
                                Prepare for mail out of response and take to the post
5/12/2020   Denielle Anguiano   office.                                                   0.8   $120.00   $96.00


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                                Draft detailed hearing email to client; draft detailed
                                email to staff on exhibits and witnesses; email Michael
5/12/2020   Ronald Smeberg      Black.                                                       0.5   $325.00   $162.50
                                Conference with Michael Black; conference with staff
5/12/2020   Ronald Smeberg      regarding response.                                          0.3   $325.00   $97.50
                                Conference with John Roberts regarding potential
5/13/2020   Ronald Smeberg      capital partners; email James Keith.                         0.3   $325.00   $97.50
                                Follow up on email to Michael Black requesting exhibit
                                list for 5/21 hearing; confer with R. Smeberg regarding
                                the same; review of client documents for useful
5/15/2020   Denielle Anguiano   exhibits.                                                    0.6   $120.00   $72.00
                                Draft of exhibit list; confer with C. O'Neil regarding the
5/15/2020   Denielle Anguiano   same.                                                        0.3   $120.00    $36.00
5/15/2020    Ronald Smeberg     Conference with James Keith.                                 0.5   $325.00   $162.50
5/15/2020    Ronald Smeberg     Larry Wright and Michael Black conferences.                  0.5   $325.00   $162.50
                                Scan and manage client documents for 5/21 hearing;
5/16/2020   Denielle Anguiano   revisions to exhibit list and finalize exhibits.             1.7   $120.00   $204.00
5/16/2020   Denielle Anguiano   Prepare amended filings for mail out.                        0.6   $120.00    $72.00
5/16/2020    Ronald Smeberg     Work on exhibits and list for hearing.                       0.4   $325.00   $130.00
                                Conference with Michael Black on exhibits.
                                Conference with staff on adding tax return as exhibit.
5/16/2020   Ronald Smeberg      Email parties on exhibits.                                   0.4   $325.00   $130.00
                                Discuss Single entity bankruptcy filing argument with
5/18/2020     Craig O'Neil      R. Smeberg in preparation for May 21 hearing.                0.3   $250.00   $75.00
                                Review articles to be sent to the court, make
                                appropriate highlights, and send articles to R. Smeberg
5/18/2020     Craig O'Neil      re: Series LLC's filing bankruptcy.                          0.4   $250.00   $100.00
5/18/2020   Denielle Anguiano   Email to Bankruptcy Clerk regarding exhibits.                0.2   $120.00    $24.00
                                Review; file and save emails as PDFs. Confer with R.
                                Smeberg regarding task for 5/21 hearing. Begin prep
5/18/2020   Denielle Anguiano   for exhibit binders.                                         1     $120.00   $120.00
                                Conference with Craig O'Neil regarding dismissal
                                motion issues; conference with Larry Wight; review
                                exhibit and witness list from opposing party. Begin
5/18/2020   Ronald Smeberg      preparing for hearing.                                       0.5   $325.00   $162.50
                                Discuss opening and closing arguments to be drafted
5/19/2020     Craig O'Neil      for R. Smeberg.                                              0.2   $250.00   $50.00
                                Review and highlight McIlheney Article on Series LLC
5/19/2020     Craig O'Neil      filing bankruptcy.                                           1     $250.00   $250.00
                                Begin draft opening arguments for hearing on motion
5/19/2020     Craig O'Neil      to dismiss.                                                  1     $250.00   $250.00
                                Search for notice of bankruptcy filing in state case;
                                email to R. Smeberg; Request of case summary of
5/19/2020   Denielle Anguiano   Cause No. 2019-355.                                          0.5   $120.00   $60.00
                                Make exhibit binders for court and R. Smeberg; make
                                binder from opposing counsel. Confer with R. Smeberg
                                regarding added articles; add certificate of service to
5/19/2020   Denielle Anguiano   exhibit list and file.                                       2.6   $120.00   $312.00
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5/19/2020   Ronald Smeberg      Conference with staff on exhibits.                        0.2   $325.00    $65.00
5/20/2020    Craig O'Neil       Work on opening argument for 5/21 hearing.                1.3   $250.00   $325.00
                                Work on opening and closing arguments for 5/21
5/20/2020     Craig O'Neil      hearing with R. Smeberg.                                  2     $250.00   $500.00
                                Attention to version 3 of opening argument for 5/21
5/20/2020     Craig O'Neil      hearing and sending to R. Smeberg.                        1     $250.00   $250.00
                                Confer with R. Smeberg regarding statutes; download,
                                format and email to Clerk's Office; Finalize Exhibit
                                binders for 5/21 hearing; deliver to Clerk's Office.
5/20/2020   Denielle Anguiano   Prepare opposing counsel's binder.                        2.7   $120.00   $324.00
                                Conference with Craig O'Neil on motion; email court
5/20/2020   Ronald Smeberg      deputy regarding case issues.                             0.3   $325.00    $97.50
5/20/2020   Ronald Smeberg      Research legislative history on Texas Series.             0.5   $325.00   $162.50
                                Numerous conferences with Craig O'Neil on preparing
5/20/2020   Ronald Smeberg      opening and closing arguments.                            0.7   $325.00   $227.50
5/20/2020   Ronald Smeberg      Review and revise opening and closing arguments.          1.5   $325.00   $487.50
5/20/2020   Ronald Smeberg      Draft questions for Larry Wright and review exhibits.     2.3   $325.00   $747.50
                                Assist with preparation for 5/21 hearing; review
                                summons and certificate of service; combine and send
5/21/2020   Denielle Anguiano   to R. Smeberg for review.                                 0.8   $120.00    $96.00
                                Prepare for hearing with client on motion to sever;
5/21/2020   Ronald Smeberg      attend hearing on motion to sever.                        3.5   $325.00   $1,137.50
                                Review emails regarding hearing and part of hearing
5/22/2020     Craig O'Neil      transcript.                                               0.3   $250.00    $75.00
5/22/2020   Denielle Anguiano   Scan and file amended Transcript Order.                   0.2   $120.00    $24.00
                                Conferences with Michael Black; conferences with
5/22/2020   Ronald Smeberg      Court clerk and Deputy.                                   0.5   $325.00   $162.50
                                Review UST order on Joint Administration and
5/22/2020   Ronald Smeberg      respond to email.                                         0.2   $325.00    $65.00
5/26/2020   Denise Saathoff     Transcribe audio from 5/21 hearing.                       1.2   $120.00   $144.00
                                Download Black Duck files from Counsel; Email and
5/26/2020   Ronald Smeberg      text message client.                                      0.2   $325.00    $65.00
                                Review and revise order on motion to sever; email
5/26/2020   Ronald Smeberg      parties.                                                  0.2   $325.00    $65.00
5/27/2020   Ronald Smeberg      Client conference.                                        1.1   $325.00   $357.50
5/28/2020   Ronald Smeberg      Client conference; conference with Laura Worsham.         0.5   $325.00   $162.50
5/31/2020   Denise Saathoff     Attention to notes taken from 5/21 hearing.               2.5   $120.00   $300.00
                                Phone call with Exceptional Reporting regarding
                                payment of transcript; email and additional phone calls
6/1/2020    Denielle Anguiano   with R. Smeberg regarding the same.                       0.2   $120.00    $24.00
6/1/2020     Denise Saathoff    Transcribe audio from 5/21 hearing                        2.8   $120.00   $336.00
                                Review text message from client; email parties;
6/1/2020     Ronald Smeberg     conference Michael Black; second email to parties.        0.2   $325.00    $65.00
6/2/2020    Denielle Anguiano   Review and save emails as PDFs                            0.3   $120.00    $36.00
                                Review letter from Don Dennis; email defense
6/3/2020    Ronald Smeberg      counsels; conference with client.                         0.5   $325.00   $162.50

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6/4/2020     Denise Saathoff    Transcribe Audio                                          3     $120.00   $360.00
                                Review related business filings on secretary of state
 6/4/2020    Ronald Smeberg     website; revise schedules.                                0.5   $325.00   $162.50
 6/4/2020    Ronald Smeberg     Respond to Segar emails.                                  0.4   $325.00   $130.00
 6/9/2020   Denielle Anguiano   Prepare mail out of Doc. 52                               0.5   $120.00    $60.00
6/10/2020   Denielle Anguiano   Work on May invoice; send to R. Smeberg.                   1    $120.00   $120.00
                                Arrange for counsel and client meeting; send
6/16/2020   Denielle Anguiano   confirmation email.                                       0.2   $120.00    $24.00
6/17/2020    Denise Saathoff    Prepare for in person meeting at A. Tiwari's office.      1.5   $120.00   $180.00
6/22/2020   Denielle Anguiano   Review docket; file and mail out motion to extend time.   0.5   $120.00    $60.00
                                Emails to J. Muller, R. Smeberg and debtor to arrange
6/22/2020   Denielle Anguiano   for meeting. Text to A. Tiwari regarding the same.        0.2   $120.00   $24.00
                                Arrange for client meeting; send out video conference
6/24/2020   Denielle Anguiano   link.                                                     0.3   $120.00   $36.00
                                Review correspondence from client and R. Smeberg;
                                confer with C. O'Neil regarding finalize draft and
6/24/2020     Ezekiel Perez     filing.                                                   0.2   $250.00    $50.00
6/25/2020   Denielle Anguiano   Briefly host call and attempt to reconnect.               0.2   $120.00    $24.00
6/25/2020    Ronald Smeberg     Client Conference                                          1    $325.00   $325.00
                                Conferences with Larry Wright, Laura Worsham, and
6/26/2020    Ronald Smeberg     Jeffrey Duke.                                             0.8   $325.00   $260.00
6/30/2020   Denielle Anguiano   Review of docket for Edec. filings.                       0.3   $120.00    $36.00
                                Conference with Mcleod counsel; conference with
                                court clerk on dates; revise cash collateral order and
7/1/2020    Ronald Smeberg      upload; email Mcleod counsel.                             0.6   $325.00   $195.00
                                Discuss answer deadline and extension of time due to
                                holiday with R. Smeberg. Research holiday effect on
7/3/2020      Craig O'Neil      answer deadline.                                          0.2   $250.00   $50.00
                                Review of docket and email to debtor regarding the
7/3/2020    Denielle Anguiano   same. File Edec...                                        0.5   $120.00   $60.00
                                Larry Wright and then J. Muller & Larry Wright
 7/6/2020    Ronald Smeberg     conference call.                                          0.6   $325.00   $195.00
7/10/2020   Denielle Anguiano   Review all time entries and compile for June invoice.     0.5   $120.00    $60.00
                                In person conference with Larry Wright; Phone
                                conference with McCleod attorney; conference with
7/10/2020   Ronald Smeberg      Larry Wright.                                             2.4   $325.00   $780.00
                                Review jointly administered bankruptcy dockets; scan
7/13/2020   Denielle Anguiano   and file E-Decs.                                          0.7   $120.00   $84.00
                                Conferences with John Muller; Conferences with Larry
                                Wright; Conferences with Michael Black; Send email
7/13/2020   Ronald Smeberg      to Tim Cleveland.                                         0.7   $325.00   $227.50
                                Conference with Larry Wright; email opposing
7/13/2020    Ronald Smeberg     counsel; email Debtor's accountant.                       0.5   $325.00   $162.50
7/13/2020    Ronald Smeberg     Conferences with counsel for McCleod Oil.                  1    $325.00   $325.00
7/16/2020   Denielle Anguiano   Email to counsel of amended motion doc. 23.               0.2   $120.00    $24.00


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                                 Conference with Larry Wright; conference with John
7/16/2020    Ronald Smeberg      Muller; Conference with Mcleod Counsel.                 0.8   $325.00   $260.00
                                 Larry Wright Conference; William Germany
7/23/2020    Ronald Smeberg      Conference; Zeke Perez conference.                      0.3   $325.00    $97.50
7/28/2020    Ronald Smeberg      Client Meeting                                          0.5   $325.00   $162.50
 8/3/2020    Ronald Smeberg      Conference with Zeke Perez regarding hearing            0.2   $325.00    $65.00
                                 Conferences with Larry Wright individually;
                                 conference with John Muller and Larry Wright;
                                 Conference with Jeff Duke; Conference with Michael
 8/3/2020    Ronald Smeberg      Black regarding hearing.                                0.3   $325.00   $97.50
                                 Draft and send to R. Smeberg motion for expedite;
 8/5/2020    Denielle Anguiano   follow up call.                                         0.5   $120.00   $60.00
 8/6/2020    Denielle Anguiano   Revisions to order on motion to expedite;               0.4   $120.00   $48.00
                                 File motion to extend exclusivity and motion to
                                 expedite; email to court clerk regarding setting of
 8/6/2020    Denielle Anguiano   hearing.                                                0.4   $120.00   $48.00
 8/6/2020     Ronald Smeberg     Conference with Bill Kulman and Email to Jeff Duke.     0.3   $325.00   $97.50
 8/6/2020     Ronald Smeberg     Larry Wright conference.                                0.2   $325.00   $65.00
                                 Compile and review July invoice; send to R. Smeberg
8/10/2020    Denielle Anguiano   for review.                                             0.9   $120.00   $108.00
8/12/2020     Ronald Smeberg     Conference with Larry Wright.                           0.5   $325.00   $162.50
8/17/2020     Ronald Smeberg     Prepare for and attend exclusivity hearing.             0.3   $325.00    $97.50
8/19/2020     Ronald Smeberg     Conference with Debtor;                                 0.2   $325.00    $65.00
8/19/2020     Ronald Smeberg     Conference with Larry Wright.                           0.2   $325.00    $65.00
8/20/2020     Ronald Smeberg     Larry Wright and J. Muller conference                   0.7   $325.00   $227.50
8/20/2020     Ronald Smeberg     J. Muller follow up conference                          0.2   $325.00    $65.00
                                 Conference with McCloud counsel regarding
8/20/2020    Ronald Smeberg      settlement.                                             0.1   $325.00   $32.50
                                 Conference with John Muller regarding conference
8/27/2020    Ronald Smeberg      with Mcleod counsel.                                    0.3   $325.00    $97.50
 9/7/2020    Ronald Smeberg      Work on new Longbranch Settlement Agreement.            1.5   $325.00   $487.50
                                 Work on new Longbranch Settlement Agreement and
 9/8/2020    Ronald Smeberg      Email to Jeff Duke.                                     1.3   $325.00   $422.50
                                 Discuss Longbranch settlement issues with R.
 9/9/2020      Craig O'Neil      Smeberg.                                                0.1   $250.00   $25.00
 9/9/2020     Ronald Smeberg     Conference with Attorney for TCRG.                      0.2   $325.00   $65.00
 9/9/2020     Ronald Smeberg     Email Natalie Wilson regarding pipeline issue.          0.2   $325.00   $65.00
9/10/2020    Denielle Anguiano   Review and prepare August bill for submission.          0.7   $120.00   $84.00
9/10/2020    Denielle Anguiano   Scan emails and send to R. Smeberg.                     0.1   $120.00   $12.00
                                 Phone call to debtor to request office visit to sign
9/14/2020    Denielle Anguiano   documents.                                              0.1   $120.00    $12.00
9/25/2020    Denielle Anguiano   Review and update of internal billing.                  1.5   $120.00   $180.00
                                 Review and revise all September time entries. Prepare
10/10/2020   Denielle Anguiano   invoice.                                                0.6   $120.00   $72.00
 11/2/2020   Denielle Anguiano   Prepare notice of hearing and file with Court           0.5   $120.00   $60.00
                                                          11
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                                 Draft notice of withdrawal; review with Z. Perez and
11/3/2020    Denielle Anguiano   file                                                        1     $120.00   $120.00
                                 Prepare Second Motion to Extend Exclusivity with
                                 Proposed Order and Motion to Expedite with Proposed
11/4/2020     Paige Burough      Order                                                       1.6   $225.00   $360.00
                                 Prepare notice of expedited hearing and file with the
11/5/2020    Denielle Anguiano   Court; and mailout.                                         1     $120.00   $120.00
                                 File motion for expedited consideration and motion to
                                 extend exclusivity; prepare for mailout and take to post
11/5/2020    Denielle Anguiano   office.                                                     1     $120.00   $120.00
                                 Prepare Motion to Substitute Counsel with Proposed
11/5/2020     Paige Burough      order                                                       0.8   $225.00   $180.00
11/5/2020     Paige Burough      Prepare motion and order to extend exclusivity period       0.8   $225.00   $180.00
11/6/2020     Paige Burough      Prepare motion and order to substitute counsel              0.3   $225.00    $67.50
                                 Revise motion and order to substitute counsel to
 11/9/2020    Paige Burough      include notice of address                                   0.3   $225.00   $67.50
11/12/2020   Denielle Anguiano   Review and combine all time for October invoice             0.6   $120.00   $72.00
11/18/2020   Denielle Anguiano   Convert to PDF and file Notice of change of firm name       0.3   $120.00   $36.00
                                 Convert motion to substitute counsel to notice of
11/18/2020    Paige Burough      change of firm address                                      0.2   $225.00   $45.00
                                 Review option agreement and proposed modification;
                                 redline modifications; send two emails to Mcleod
11/25/2020   Ronald Smeberg      counsel regarding modifications.                            0.6   $325.00   $195.00
                                 Review response from Mcleod counsel; email John
11/25/2020   Ronald Smeberg      Muller and client; conference with John Muller              0.2   $325.00   $65.00
                                 Confer with RS; Identify state court COVID-19
                                 operation plans; Modify hearing subpoena template;
11/30/2020    Paige Burough      Prepare hearing subpoenas for zoom appearances              3     $225.00   $675.00
                                 Combine all time and prepare November invoice; send
12/10/2020   Denielle Anguiano   to R. Smeberg for review.                                   1.2   $120.00   $144.00
12/21/2020    Ronald Smeberg     Prehearing conference with John and William.                0.7   $325.00   $227.50
                                 Conference with counsel; Follow up Conference with
12/31/2020   Ronald Smeberg      John Muller and counsel.                                    0.5   $325.00   $162.50
                                 Draft motion for leave to file FFCL and Order on
 1/6/2021    Ronald Smeberg      Motion for Leave; Email counsel.                            1.5   $325.00   $487.50
                                 Confer with RS; Conduct legal research on discovery
 1/7/2021     Paige Burough      abuse as grounds for adverse inference                      2.5   $225.00   $562.50
 1/7/2021    Ronald Smeberg      Conferences with John Muller on motions                     0.4   $325.00   $130.00
                                 Conduct legal research on disclosure protections based
                                 on allied defense doctrine, joint litigation defense, and
 1/8/2021     Paige Burough      common interest                                             0.8   $225.00   $180.00
                                 Review documents for Motions; conference with John
 1/8/2021    Ronald Smeberg      Muller regarding motions; email regarding settlement.       0.7   $325.00   $227.50
1/27/2021    Ronald Smeberg      Draft motion to extend exclusivity.                         0.6   $325.00   $195.00
                                 prepare motion to extend exclusivity and request to
1/28/2021    Denielle Anguiano   expedite; send to R. Smeberg for review.                    1.8   $120.00   $216.00
1/28/2021    Denielle Anguiano   file motions and Email to clerk regarding setting.          0.3   $120.00    $36.00
                                                           12
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1/28/2021   Denielle Anguiano   prepare mailout of motions and notice of hearing          0.7    $120.00   $84.00
 2/2/2021   Denielle Anguiano   Email to clerk regarding hearing                          0.1    $120.00   $12.00
 2/3/2021    Ronald Smeberg     Attend hearing regarding extending exclusivity            0.3    $325.00   $97.50

3/6/2021    Denielle Anguiano   prepare Feb invoice                                       0.50   $120.00   $60.00
                                prepare motion and order to extend exclusivity and
4/8/2021    Denielle Anguiano   request for expedited hearing                             1.80   $120.00   $216.00
                                Conference with DMA counsel on Motion to Extend
4/8/2021    Ronald Smeberg      Exclusivity;                                              0.20   $325.00   $65.00
                                convert to PDF and file prepared motions; email to the
4/9/2021    Denielle Anguiano   court                                                     0.90   $120.00   $108.00
                                prepare notice of expedited hearing; file and mailout
                                filed motions; take to post office. Email to counsel re
4/9/2021    Denielle Anguiano   expedited hearing                                         2.00   $120.00   $240.00
4/9/2021    Denielle Anguiano   email to clerk to follow up on exclusivity hearing         0.1   $120.00    $12.00
4/9/2021    Denielle Anguiano   email to notice parties of notice of expedited hearing     0.2   $120.00    $24.00
                                Revise motion prepared by staff, revise order on
4/9/2021    Ronald Smeberg      motion; revise motion and order to expedite.              0.50   $325.00   $162.50
                                Conference with Laura Worsham on exclusivity
4/9/2021    Ronald Smeberg      motion.                                                   0.20   $325.00   $65.00
                                Prepare for and attend exclusivity motion; email client
4/12/2021   Ronald Smeberg      and counsel.                                              0.50   $325.00   $162.50
6/24/2021   Ronald Smeberg      conferences with john muller and Laura Worsham             1.2   $325.00   $390.00
                                Conferences with John Muller; review Mcleod
6/25/2021   Ronald Smeberg      proposal; draft counter proposal; email John Muller       1.3    $325.00   $422.50
                                Review Muller revisions; email client and Muller; final
6/28/2021   Ronald Smeberg      revisions; email counsel for Mcleod                       0.3    $325.00    $97.50
6/28/2021   Ronald Smeberg      Conference with John Muller and Larry Wright              0.7    $325.00   $227.50
                                review of docket. Send McLeod Oil POC to R.
7/2/2021    Denielle Anguiano   Smeberg and J. Muller                                     0.2    $120.00   $24.00
7/6/2021    Denielle Anguiano   email to clerk requesting transcript; look up rules       0.2    $120.00   $24.00
                                Conferences with Larry Wright, John muller, Bryan
7/7/2021    Ronald Smeberg      Lopez, and Laura Worsham                                  0.8    $325.00   $260.00
7/7/2021    Ronald Smeberg      Draft email to Laura Worsham                              0.3    $325.00    $97.50
                                Confer with R. Smeberg; Prepare Order on Motion to
7/29/2021    Paige Burough      Reset. Hearing on Disclosure Statement                    0.3    $225.00    $67.50
 8/2/2021    Paige Burough      Confer with R. Smeberg re: motion for sale of property    0.2    $225.00    $45.00
 8/2/2021    Paige Burough      Review earnest money contract and format documents        0.5    $225.00   $112.50
                                Review email regarding sale; email Larry Wright;
                                conference with Larry Wright; review sales contract;
                                conference with associate on drafting motion to sell;
                                conference with Laura Worsham regarding motion for
8/2/2021    Ronald Smeberg      sale                                                      0.8    $325.00   $260.00
                                communications with transcriber regarding request for
8/3/2021    Denielle Anguiano   transcript                                                0.2    $120.00   $24.00
                                prepare notice of hearing; send to R. Smeberg; minor
8/3/2021    Denielle Anguiano   edits; file and mailout along with motion to sell         1.5    $120.00   $180.00
                                                         13
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 8/3/2021     Paige Burough      Prepare v1 motion for sale of property                     2    $225.00   $450.00
 8/3/2021     Paige Burough      Prepare v1 order on motion for sale of property            1    $225.00   $225.00
 8/4/2021     Paige Burough      Prepare motion to expedite                                0.6   $225.00   $135.00
 8/4/2021     Paige Burough      Prepare order on motion to expedite                       0.3   $225.00    $67.50
 8/4/2021    Ronald Smeberg      Work on Motion to sell free and clear                     1.1   $325.00   $357.50
                                 minor revisions to order for sale; prepare exhibit and
 8/5/2021    Denielle Anguiano   send to R. Smeberg                                        0.4   $120.00   $48.00
                                  Finish motion to sell free and clear and revise motion
 8/5/2021    Ronald Smeberg      to expedite and orders;                                   0.7   $325.00   $227.50
                                 Conferences with John Muller and Larry Wright;
                                 conference Laura Worsham; Emails to Court regarding
 8/5/2021    Ronald Smeberg      motion                                                    1     $325.00   $325.00
                                 Conference with John Muller and Bryan Lopez;
                                 respond to emails from UST and Laura Worsham;
 8/6/2021    Ronald Smeberg      conference with real estate broker.                       0.5   $325.00   $162.50
                                 review and sort through all time entries for Fee
8/10/2021    Denielle Anguiano   Application                                               2.8    120      $336.00
                                 Conferences with John Muller regarding settlement;
8/10/2021    Ronald Smeberg      conference with Laura Worsham on order; revise order      0.5   $325.00   $162.50
                                 Email parties on order; upload order; upload revised
8/11/2021     Ronald Smeberg     order                                                     0.3   $325.00    $97.50
8/16/2021    Denielle Anguiano   Save to file transcript; issue vendor payment.            0.4   $120.00    $48.00
 9/8/2021     Ronald Smeberg     Conferences with John Muller regarding settlement;        0.6   $325.00   $195.00
 9/8/2021     Ronald Smeberg     Draft email to Larry Wright regarding DIP accounts        0.2   $325.00    $65.00
 9/8/2021     Ronald Smeberg     Draft order regarding hearing.                            0.5   $325.00   $162.50
                                 Finalize fee application, summary and order; send to R.
9/13/2021    Denielle Anguiano   Smeberg for review. Prepare envelopes for mailout.        1.8   $120.00   $216.00
                                 Prepare orders for other two cases; attempt to file the
9/13/2021    Ronald Smeberg      orders as directed by the Court; email court clerk.       0.4   $325.00   $130.00
                                 Conference with Larry Wright; conference with john
9/20/2021    Ronald Smeberg      Muller, conference with john miller and Larry Wright.     1     $325.00   $325.00
                                 Review loan docs. Draft initial objection to McLeod
9/22/2021    Ronald Smeberg      claim.                                                    2.3   $325.00   $747.50
                                 Conference with Larry Wright; conference with Zeke
                                 Perez; Conference with Larry Wright; Conference with
9/23/2021    Ronald Smeberg      John Muller; Conference with William Germany.             0.5   $325.00   $162.50
9/23/2021    Ronald Smeberg      Conference with John Muller and Larry Wright              0.7   $325.00   $227.50
9/23/2021    Ronald Smeberg      Conferences with John Muller                              0.4   $325.00   $130.00
                                 Conferences with John Muller; Research late fee
9/27/2021     Ronald Smeberg     issues; send research to John Muller.                     1.5   $325.00   $487.50
9/29/2021    Denielle Anguiano   Prepare notice and certificate of service                 0.7   $120.00   $84.00
9/29/2021    Denielle Anguiano   File and mail out notice of filing; take to post office    1    $120.00   $120.00
                                 Meet with Z. Perez and J. Muller regarding claim
10/1/2021    Ronald Smeberg      objection                                                 1.2   $325.00   $390.00
                                 Conferences with John Muller; Conference with Larry
10/13/2021   Ronald Smeberg      Wright; conference with William Germany;                  1.1   $325.00   $357.50
                                                          14
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                                          Revise motion and order on claim objection; file
10/13/2021          Ronald Smeberg        motion and order with the Court.                             0.5   $325.00   $162.50
                                          Draft notice of sale of ranch; send to R. Smeberg for
10/13/2021         Denielle Anguiano      review                                                       0.6   $120.00   $72.00
                                          Confer with RS re: equitable mootness and interest in
10/14/2021           Paige Burough        real property                                                0.2   $225.00   $45.00
                                          Conduct research on equitable mootness and
10/14/2021           Paige Burough        intersections with real property interest                    1     $225.00   $225.00
                                          Prepare notice of sale of ranch for filing; file and mail
10/14/2021         Denielle Anguiano      out                                                          0.5   $120.00   $60.00
                                          Prepare amended certificate of service for objection;
                                          send to R. Smeberg for review and file with court. Mail
10/14/2021         Denielle Anguiano      out                                                          0.5   $120.00   $60.00
                                          Confer with R. Smeberg; Conduct and summarize
                                          research on scenarios wherein courts granted and
10/27/2021           Paige Burough        withheld equitable mootness                                  3.1   $225.00   $697.50
                                          Confer with R. Smeberg; Conduct research on losing
10/28/2021           Paige Burough        interest at trial impairing creditor's vote                  1     $225.00   $225.00

                                                         Timekeeper Summary
                    Name                         Hours             Rate                   Amount
                    Ronald Smeberg               74.5             $325/Hour               $24,212.50
                    Ezekiel Perez                0.2              $250/Hour               $50.00
                    Craig O’Neil                 19.2             $250/Hour               $4,800.00
                    Paige Burough1               20.5             $225/Hour               $4,612.50
                    Paige Burough                1.1              $120/Hour               $132.00
                    Denielle Anguiano            57.3             $120/Hour               $6,876.00
                    Denise Saathoff              11               $120/Hour               $1,320.00

                    Disbursements                                                         Amount
                    Copies at $0.25/page                           971                    $242.75
                    Postage                                                               $131.20
                    Mileage                                                               $56.26
                    Additional Expenses                                                   $653.24


                    BILLING SUMMARY
                            TOTAL FEES:                                                   $42,003.00
                            TOTAL DISBURSEMENTS:                                          $1,083.45
                            TOTAL CHARGES FOR THIS BILL:                                  $42,163.95


             ADVERSARY ISSUES

             1
                 Rate and position changed for Paige Burough on May 16, 2020.
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            FOR PROFESSIONAL SERVICES RENDERED

                                                                                                         AMOUNT
 DATE             USER                             DESCRIPTION                          TIME   RATE       OWED
                               Several conference calls with R. Smeberg regarding
4/27/2020      Craig O'Neil    2004 Document requests and Letter to Seger.               0.4   $250.00   $100.00
                               Phone calls with J. Muller regarding letter to Seger and
4/27/2020      Craig O'Neil    substantive consolidation.                                0.3   $250.00    $75.00
                               Discuss 2004 requests with R. Smeberg and obtain
4/27/2020      Craig O'Neil    style of case from D. Anguiano.                           0.2   $250.00    $50.00
                               Review materials and draft 2004 document request to
4/27/2020      Craig O'Neil    Boerner, Dennis & Franklin, PLLC.                         1.5   $250.00   $375.00
                               Review materials and draft 2004 document request to
4/27/2020      Craig O'Neil    George Harrison Pigg.                                     0.5   $250.00   $125.00
4/27/2020      Craig O'Neil    Review and edit version 5 of the adversary claim.          1    $250.00   $250.00
                               Revise 2004 Examination Notices drafted by associate;
4/27/2020     Ronald Smeberg   give instructions for mailing.                            0.5   $325.00   $162.50
                               Review emails between D. Borders and D. Moore
                               regarding their ownership in the Express Pipeline, and
4/28/2020      Craig O'Neil    send response to R. Smeberg.                              0.2   $250.00    $50.00
                               Discuss adversary claim, 2004 and 4/29 hearing with R.
4/28/2020      Craig O'Neil    Smeberg.                                                  0.1   $250.00    $25.00
                               Quick look through version 6 of adversary complaint,
4/28/2020      Craig O'Neil    and provide status update email to R. Smeberg.            0.1   $250.00    $25.00
                               Draft Rule 26 Disclosures and provide version 1 to R.
4/28/2020      Ezekiel Perez   Smeberg for review.                                       1.6   $250.00   $400.00
                               Review and revise 2004 requests and letters regarding
4/28/2020     Ronald Smeberg   2004s.                                                    0.5   $325.00   $162.50
                               Additional research on how to respond to DMA and
4/30/2020      Craig O'Neil    Long branch's motion to dismiss.                          0.4   $250.00   $100.00
4/30/2020      Craig O'Neil    Review and edit version 8 of adversarial complaint.       0.5   $250.00   $125.00
4/30/2020     Ronald Smeberg   John Muller conference on "running with the land".        0.5   $325.00   $162.50
4/30/2020     Ronald Smeberg   Revise complaint.                                         1.5   $325.00   $487.50
                               Review and edit version 9 of the adversarial complaint.
5/1/2020       Craig O'Neil    Send version 9 to Ron with email for review.              0.3   $250.00    $75.00
                               Research law on substantive consolidation, and single-
5/1/2020       Craig O'Neil    entity law under the Texas Bus. Org. Code.                1.4   $250.00   $350.00
                               Draft response to DMA/Longbranch motion to split/
5/1/2020       Craig O'Neil    dismiss.                                                  1.5   $250.00   $375.00
                               Review revised complaint; conference with Riverbend
                               on investment banking services; conference with Craig
5/1/2020      Ronald Smeberg   O'Neil on Series issues. Conference with Larry Wright.     1    $325.00   $325.00
                               Final Work on Complaint; contact court clerk; file
5/1/2020      Ronald Smeberg   complaint.                                                0.4   $325.00   $130.00
                               Organize outline and factors for traditional test
5/2/2020       Craig O'Neil    arguments in Motion for Substantive consolidation.        0.6   $250.00   $150.00
                               Finish version 1 of motion seeking substantive
5/2/2020       Craig O'Neil    consolidation.                                            4.5   $250.00   $1,125.00
                                                       16
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                                Prepare adversary complaint and summons for
5/4/2020    Denielle Anguiano   Certified Mailing.                                        0.5   $120.00   $60.00
                                Prepare amended adversary complaint and summons
5/5/2020    Denielle Anguiano   for Certified Mailing.                                    0.4   $120.00   $48.00
                                Conference with Don Dennis regarding 2004 and send
5/5/2020    Ronald Smeberg      email extending time.                                     0.3   $325.00   $97.50
                                Conferences with client; conference with Michael
5/5/2020    Ronald Smeberg      Black; Conference with Tim Cleveland.                     0.7   $325.00   $227.50
                                Prepare amended adversary complaint and summons
5/6/2020    Denielle Anguiano   for Certified Mailing; take to post office.               0.5   $120.00   $60.00
                                Review emails regarding substantive consolidation and
5/7/2020      Craig O'Neil      respond to R. Smeberg's email.                            0.2   $250.00   $50.00
                                Review and revise motion for substantive
                                consolidation; email associate with questions to
5/7/2020    Ronald Smeberg      consider on motion; conference with client.               1     $325.00   $325.00
                                Discuss version 2 of Motion for substantive
5/8/2020      Craig O'Neil      consolidation.                                            0.3   $250.00    $75.00
5/8/2020      Craig O'Neil      Draft Motion for Substantive Consolidation version 2.     1.1   $250.00   $275.00
                                Review 2004 request emails between R. Smeberg and
5/13/2020     Craig O'Neil      opposing counsel.                                         0.1   $250.00   $25.00
                                Prepare for mail out of amended response and take to
5/13/2020   Denielle Anguiano   the post office.                                          0.7   $120.00   $84.00
                                Make changes to motion to dismiss amended response
5/13/2020   Ronald Smeberg      and send to associate.                                    0.3   $325.00   $97.50
                                Discuss opposing counsels reply and fraudulent transfer
                                argument for KrisJenn and Pipeline Row for the
5/19/2020     Craig O'Neil      Express Pipeline.                                         0.3   $250.00   $75.00
                                Review Longbranch and DMA's reply in motion to
5/20/2020     Craig O'Neil      sever/dismiss, and outline counter-arguments.             1.2   $250.00   $300.00
                                Discuss Longbranch and DMA reply to our response
5/20/2020     Craig O'Neil      with R. Smeberg.                                          0.2   $250.00   $50.00
5/26/2020     Craig O'Neil      Discuss adversarial complaint discovery with J. Muller.   0.1   $250.00   $25.00
                                Prepare certificate of service for summons; scan and
5/26/2020   Denielle Anguiano   save Certified Return Receipts.                           0.2   $120.00   $24.00
                                Discuss transcript and adversarial complaint strategy
5/27/2020     Craig O'Neil      with R. Smeberg.                                          0.1   $250.00   $25.00
                                Confer with R. Smeberg; revise certificate of service
5/27/2020   Denielle Anguiano   for summons.                                              0.2   $120.00   $24.00
5/28/2020     Craig O'Neil      Relay case status to J. Muller.                           0.2   $250.00   $50.00
                                Discuss answer to adversary counterclaim and
6/3/2020     Craig O'Neil       discovery with R. Smeberg.                                0.1   $250.00    $25.00
6/5/2020    Ronald Smeberg      Draft initial discovery to Defendants in adversary.       2.2   $325.00   $715.00
                                Email Larry Wright information on the litigation; email
6/5/2020    Ronald Smeberg      exhibits to Larry Wright.                                 0.4   $325.00   $130.00
                                Confer with J. Muller and C. O'Neil regarding draft of
                                answer in case; begin draft of version 1 of Debtors'
6/19/2020     Ezekiel Perez     Answer.                                                   3.1   $250.00   $775.00
6/21/2020     Craig O'Neil      Version 2 of the counterclaim answer.                      1    $250.00   $250.00
                                                         17
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                                Confer with C. O'Neil; draft version 1 of answer; send
6/21/2020     Ezekiel Perez     to C. O'Neil for review.                                   2.1   $250.00   $525.00
                                Review emails from R. Smeberg regarding continuance
6/22/2020     Craig O'Neil      to answer.                                                 0.2   $250.00   $50.00
                                Draft motion and order to extend time to respond to
6/22/2020     Ezekiel Perez     adversary.                                                 0.5   $250.00   $125.00
                                Conference with client regarding answer to
6/22/2020   Ronald Smeberg      counterclaim.                                              2     $325.00   $650.00
                                Draft and file statement of consent; email comments
6/24/2020   Ronald Smeberg      regarding answer to associates and J. Muller.              0.5   $325.00   $162.50
                                Review and edit version 2 of Answer to Counterclaim;
6/28/2020     Ezekiel Perez     confer with R. Smeberg regarding the same.                 0.4   $250.00   $100.00
                                Discussing answer to second counter claim with E.
6/29/2020     Craig O'Neil      Perez.                                                     0.1   $250.00   $25.00
                                Review of adversary docket; confer with R. Smeberg
                                regarding additional complaint; email to Z. Perez
                                regarding the same. Draft and attach certificate of
6/29/2020   Denielle Anguiano   service and file.                                          1.2   $120.00   $144.00
                                Review pleadings and edit final draft of answer; confer
                                with R. Smeberg; send proposed final draft to R.
                                Smeberg for review; Confer with C. O'Neil regarding
                                draft Answer to second counterclaim and provide
                                outlined response; confer with D. Anguiano regarding
6/29/2020     Ezekiel Perez     filing and J. Muller regarding last review.                2.9   $250.00   $725.00
6/30/2020     Craig O'Neil      Drafting Answer to Moore's counterclaim.                   3.5   $250.00   $875.00
                                Conference call regarding litigation strategy on
6/30/2020     Craig O'Neil      adversary complaint and counterclaim.                      1.8   $250.00   $450.00
                                Discussing implications of state MSJ on BR MSJ with
6/30/2020     Craig O'Neil      J. Muller.                                                 0.3   $250.00   $75.00
                                Email to legal team regarding implications of state MSJ
6/30/2020     Craig O'Neil      on BR MSJ.                                                 0.1   $250.00   $25.00
                                Review version 1 of answer to counterclaim;
                                teleconference with client, J. Muller, R. Smeberg, and
                                C. O'Neil regarding case status and third party
6/30/2020     Ezekiel Perez     subpoenas.                                                 2.1   $250.00   $525.00
 7/3/2020     Craig O'Neil      Update E. Perez on answer deadline.                        0.1   $250.00    $25.00
                                Call to J. Muller regarding answer to Moore's
7/3/2020      Craig O'Neil      counterclaim. Leave a voicemail.                           0.1   $250.00   $25.00
                                Review & edit version 1 of counterclaim answer and
7/3/2020      Ezekiel Perez     confer with C. O’Neil regarding filing.                    0.4   $250.00   $100.00
                                Send answer to Moore's counterclaim to J. Muller for
7/5/2020      Craig O'Neil      review; provide status update.                             0.2   $250.00   $50.00
                                Finalize answer to Moore's counterclaims and discuss
                                with R. Smeberg and J. Muller. Task D. Anguiano
7/6/2020      Craig O'Neil      with certificate of service and file.                      1.1   $250.00   $275.00
                                Call with C. O'Neil regarding answer; confer with J.
                                Muller regarding the same. Add certificate of service to
7/6/2020    Denielle Anguiano   Answer and file.                                           0.3   $120.00   $36.00

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                                Call with J. Muller and S. Barnash regarding David
7/6/2020    Denielle Anguiano   Strolle subpoena.                                       0.2   $120.00   $24.00
                                Confer with C. O'Neil regarding proposed draft of
                                answer and filing; confer with J. Muller regarding
7/6/2020     Ezekiel Perez      motion to quash and objections to subpoena.             0.2   $250.00    $50.00
7/7/2020     Ezekiel Perez      Draft version 1 of motion to quash and objections.      2.4   $250.00   $600.00
8/6/2020    Ronald Smeberg      Review new settlement LOI                               0.7   $325.00   $227.50
8/6/2020    Ronald Smeberg      Draft email to Debtor regarding LOI.                    0.3   $325.00    $97.50
                                Conference with Tim Cleveland; email exchange with
8/12/2020   Ronald Smeberg      John Muller.                                            0.6   $325.00   $195.00
                                Conference with counsel for Mcleod; email adversary
8/17/2020   Ronald Smeberg      team and Debtor regarding McLeod.                       0.9   $325.00   $292.50
8/17/2020   Ronald Smeberg      Case Strategy Conferences with John Muller.             0.5   $325.00   $162.50
8/18/2020   Ronald Smeberg      Conference with Larry Wright and William Germany.       0.2   $325.00    $65.00
                                Conference with Larry Wright William Germany and
8/18/2020   Ronald Smeberg      Mcleod Counsel.                                         0.9   $325.00   $292.50
8/18/2020   Ronald Smeberg      Conference with Larry Wright and William Germany.       0.4   $325.00   $130.00
                                Conferences with William Kulman on potential
8/19/2020   Ronald Smeberg      settlements.                                            0.5   $325.00   $162.50
8/19/2020   Ronald Smeberg      Conference with Jeff Duke on settlement.                0.2   $325.00    $65.00
                                Review settlement docs; draft comments; email
8/24/2020   Ronald Smeberg      litigation team.                                        1.5   $325.00   $487.50
                                Conference with Larry Wright and John Muller
8/27/2020   Ronald Smeberg      regarding litigation.                                   0.8   $325.00   $260.00
                                Continued conference with Larry Wright a regarding
8/27/2020   Ronald Smeberg      litigation.                                             0.7   $325.00   $227.50
                                Conference with Jeff Duke: conference with Larry
9/2/2020    Ronald Smeberg      Wright regarding new settlement discussions.            0.3   $325.00   $97.50
                                Conference with Jeff Duke regarding settlement and
9/8/2020    Ronald Smeberg      revise agreement.                                       0.3   $325.00   $97.50
                                Conferences with John Muller and Natalie Wilson on
                                discovery issues. Draft follow up email to Natalie
9/8/2020    Ronald Smeberg      Wilson regarding the same.                              0.7   $325.00   $227.50
                                Conference with John Muller regarding agreement;
9/8/2020    Ronald Smeberg      email to Jeff Duke regarding the same.                  0.2   $325.00   $65.00
9/9/2020    Ronald Smeberg      Email Larry Wright regarding DMA issues                 0.1   $325.00   $32.50
                                Bill Kulman conference; Michael Black conference on
9/9/2020    Ronald Smeberg      settlement; Larry Wright conference on settlement.      0.4   $325.00   $130.00
                                Conference with John Muller on settlement; conference
                                with Bryan Lopez on settlement; text status to Jeff
9/9/2020    Ronald Smeberg      Duke; Conference with Larry Wright.                     0.4   $325.00   $130.00
9/9/2020    Ronald Smeberg      Review litigation counsel changes to agreement.         0.3   $325.00    $97.50
                                Conference with Bryan Lopez on settlement agreement;
9/9/2020    Ronald Smeberg      conference with Jeff Duke on settlement agreement.      0.5   $325.00   $162.50
9/9/2020    Ronald Smeberg      Revisions to settlement agreement.                      0.8   $325.00   $260.00
                                Meeting with Larry Wright regarding settlement;
9/11/2020   Ronald Smeberg      Follow up conference call with Larry Wright.            1     $325.00   $325.00
                                                        19
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9/11/2020      Ronald Smeberg      Several conferences with Michael Black.                   0.5   $325.00   $162.50
                                   Settlement meeting with Michael Black at Black's
9/11/2020      Ronald Smeberg      office.                                                    6    $325.00   $1,950.00
9/11/2020      Ronald Smeberg      Conference with client; conference with John Muller.      0.4   $325.00    $130.00
                                   Conferences with Michael Black; conference with
9/14/2020       Ronald Smeberg     Michael Black and John Muller.                            0.6   $325.00   $195.00
10/9/2020       Ronald Smeberg     Attend John Mcleod deposition.                             3    $325.00   $975.00
11/2/2020      Denielle Anguiano   File amended compliant with court                         0.3   $120.00    $36.00
11/3/2020      Denielle Anguiano   Review and file second amended complaint                  0.4   $120.00    $48.00
                                   Confer with Z. Perez and file answer and affirmative
11/18/2020     Denielle Anguiano   defenses                                                  0.2   $120.00    $24.00
                                   Conference with John Muller regarding KrisJenn case
                                   issues discussing how to process settlement in
                                   bankruptcy procedure; settlement conference with John
                                   Muller and William Kulman regarding bankruptcy
12/10/2020     Ronald Smeberg      settlement procedure.                                     1.2   $325.00   $390.00
12/22/2020     Ronald Smeberg      Attend discovery hearing.                                  1    $325.00   $325.00
12/22/2020     Ronald Smeberg      John Muller Conference.                                   0.2   $325.00    $65.00
                                   Conferences with John Muller and William Germany
                                   regarding FFCL; attend phone conference with
 1/6/2021      Ronald Smeberg      opposing counsel.                                         0.6   $325.00   $195.00



                                                Timekeeper Summary
               Name                     Hours            Rate                   Amount
               Ronald Smeberg           38.5            $325/Hour               $12,512.50
               Ezekiel Perez            15.7            $250/Hour               $3,925.00
               Craig O’Neil             25.9            $250/Hour               $6,475.00
               Denielle Anguiano        5.1             $120/Hour               $612.00
               Disbursements                                                    Amount
               Copies at $0.25/page                      36                     $9.00
               Postage                                                          $19.80
               Mileage                                                          $6.96
               Filing Fee                                                       $350.00
               BILLING SUMMARY
                       TOTAL FEES:                                              $23,524.50
                       TOTAL DISBURSEMENTS:                                     $385.76
                       TOTAL CHARGES FOR THIS BILL:                             $23,910.26


             CASH COLLATERAL
             FOR PROFESSIONAL SERVICES RENDERED

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                                                                                                             AMOUNT
 DATE             USER                                 DESCRIPTION                          TIME   RATE       OWED
6/29/2020    Denielle Anguiano   Revisions to Cash Collateral order; send to R. Smeberg.     0.3   $120.00    $36.00
                                 Draft second interim cash collateral order and email
6/30/2020    Ronald Smeberg      McCleod counsel.                                            0.5   $325.00   $162.50
                                 Client conference; prepare for and attend cash
 7/1/2020    Ronald Smeberg      collateral hearing.                                         0.3   $325.00    $97.50
                                 Conference with counsel for Mcleod regarding cash
 9/1/2020    Ronald Smeberg      collateral hearing; email court deputy; review order3       0.3   $325.00    $97.50
 9/2/2020    Ronald Smeberg      Prepare for and attend cash collateral hearing.             0.2   $325.00    $65.00
                                 Conferences with John Muller; conference with
11/25/2020   Ronald Smeberg      associate regarding cash collateral agreement.              0.5   $325.00   $162.50
11/27/2020   Ronald Smeberg      Work on motion to modify cash collateral order              0.7   $325.00   $227.50
11/30/2020    Paige Burough      Prepare motion to modify cash collateral order shell        0.8   $225.00   $180.00
                                 Finish first draft of Motion to Modify Cash Collateral
                                 order; begin working on order; email to Mcleod
12/1/2020    Ronald Smeberg      counsel                                                     1.5   $325.00   $487.50
                                 Finish first draft of Order on motion to modify. Email
12/2/2020    Ronald Smeberg      to Mcleod counsel.                                          0.8   $325.00   $260.00
                                 review Laura Worsham changes to order; email back
12/3/2020    Ronald Smeberg      comments; conference with Laura Worsham.                    0.5   $325.00   $162.50
                                 revisions on Motion to Modify and Cash Collateral
12/4/2020    Denielle Anguiano   with R. Smeberg; prepare for filing; file and mailout       2.4   $120.00   $288.00
                                 Prepare motion and order to expedite motion to modify
12/4/2020     Paige Burough      cash collateral order                                       1     $225.00   $225.00
                                 Review changes to order from Laura Worsham; email
                                 exchanges; conference with staff regarding motion to
12/4/2020     Ronald Smeberg     expedite; email client regarding final drafts.              0.7   $325.00   $227.50
12/7/2020    Denielle Anguiano   Email to clerk for hearing date.                            0.2   $120.00    $24.00
                                 prepare notice of hearing; send to R. Smeberg for
12/7/2020    Denielle Anguiano   review; file and mail out                                   0.8   $120.00    $96.00
                                 Conference with Laura Worsham regarding Cash
                                 Collateral Hearing; prepare for and attend hearing;
12/9/2020    Ronald Smeberg      conference with Laura Worsham.                              0.7   $325.00   $227.50
                                 Review KrisJenn orders on cash collateral and
                                 exclusivity; email exchanges with counsels regarding
                                 motions; review prior final cash collateral order; email
1/27/2021    Ronald Smeberg      court deputy; conference with Laura Worsham.                0.8   $325.00   $260.00

                                               Timekeeper Summary
             Name                      Hours            Rate                    Amount
             Ronald Smeberg            7.5             $325/Hour                $2,437.50
             Paige Burough             1.8             $225/Hour                $405.00
             Denielle Anguiano         3.7             $120/Hour                $444.00

             Disbursements                                                      Amount
                                                          21
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              Copies at $0.25/page                      54                      $13.50
              Postage                                                           $19.80

              BILLING SUMMARY
                      TOTAL FEES:                                               $3,286.50
                      TOTAL DISBURSEMENTS:                                      $33.30
                      TOTAL CHARGES FOR THIS BILL:                              $3,319.80


            MOTIONS TO EMPLOY PROFESSIONALS
            FOR PROFESSIONAL SERVICES RENDERED

                                                                                                             AMOUNT
 DATE              USER                                DESCRIPTION                          TIME   RATE       OWED
                                  Confer with R. Smeberg regarding motion to employ
                                  accountant; email to P. Burough regarding the same.
5/29/2020     Denielle Anguiano   Assist D. Saathoff with scan of tax returns.               0.5   $120.00    $60.00
                                  Meet with client at the office; conference with client
5/29/2020     Ronald Smeberg      accountant.                                                1.5   $325.00   $487.50
                                  Prepare Motion to Employ Accountant Nunc Pro Tunc,
6/1/2020       Paige Burough      Accountant’s Affidavit, and Proposed Order.                1.8   $120.00   $216.00
                                  Confer with R. Smeberg; Prepare motion to employ
6/1/2020       Paige Burough      accountant Nunc pro Tunc, order, and declaration.          1.2   $120.00   $144.00
                                  Contact proposed accountant regarding exhibits to
6/4/2020       Paige Burough      motion to employ; Email follow up with declaration.        0.5   $120.00    $60.00
6/4/2020      Ronald Smeberg      Review and revise application to employ accountant.        0.3   $325.00    $97.50
                                  Confer with P. Burough regarding filing of motion to
                                  employ accountant; discuss supplement and affidavit;
6/9/2020      Denielle Anguiano   locate and send supplement.                                0.3   $120.00    $36.00
                                  Conference with staff on new accountant agreement;
8/10/2020     Ronald Smeberg      Email to UST regarding new accountant.                     0.3   $325.00    $97.50
                                  Prepare motion and order to employ accountant; send
8/13/2020     Denielle Anguiano   to R. Smeberg for review.                                  0.7   $120.00    $84.00
                                  Minor revisions to motion and order to employ
8/25/2020     Denielle Anguiano   accountant.                                                0.4   $120.00    $48.00
                                  Draft affidavit for new accountant and email to
9/2/2020      Ronald Smeberg      accountant                                                 0.5   $325.00   $162.50
                                  Revise order on motion to employ and edit motion
9/2/2020      Ronald Smeberg      further; email staff regarding filing.                     0.3   $325.00    $97.50
9/2/2020      Ronald Smeberg      Review motion to employ new accountant.                    0.3   $325.00    $97.50
                                  Minor revisions to motion to employ accountant;
9/3/2020      Denielle Anguiano   format exhibits and file. Prepare for mail out.            0.9   $120.00   $108.00
                                  prepare motion to employ broker and send to R.
7/6/2021      Denielle Anguiano   Smeberg for review; edits to declaration                   1.2   $120.00   $144.00
7/7/2021      Denielle Anguiano   begin draft of mtn to employ broker                         1    $120.00   $120.00


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                                  finalize motion, order and declaration to employ
7/8/2021      Denielle Anguiano   broker; send to R. Smeberg for review                       1     $120.00   $120.00
7/9/2021      Denielle Anguiano   Prepare mailout of motion to employ; take to post.          1     $120.00   $120.00
                                  Review and revise motion and order to employ broker
7/9/2021      Ronald Smeberg      and file with the Court.                                    0.6   $325.00   $195.00

                                                Timekeeper Summary
              Name                      Hours            Rate                    Amount
              Ronald Smeberg            3.8             $325/Hour                $1,235.00
              Paige Burough             3.5             $120/Hour                $420.00
              Denielle Anguiano         7               $120/Hour                $840.00

              Disbursements                                                      Amount
              Copies at $0.25/page                       54                      $13.50
              Postage                                                            $9.90
              Mileage                                                            $6.96

              BILLING SUMMARY
                      TOTAL FEES:                                                $2,495.00
                      TOTAL DISBURSEMENTS:                                       $30.36
                      TOTAL CHARGES FOR THIS BILL:                               $2,525.36


            SCHEDULES, STATEMENTS AND INITIAL DEBTOR’S CONFERENCE
            FOR PROFESSIONAL SERVICES RENDERED

                                                                                                              AMOUNT
 DATE              USER                               DESCRIPTION                            TIME   RATE       OWED
                                  Meet with Larry Wright and revise documents; revise
4/29/2020      Ronald Smeberg     schedule A and cover with Larry Wright.                     0.8   $325.00   $260.00
 5/4/2020     Denielle Anguiano   Work on IDC.                                                0.6   $120.00    $72.00
 5/6/2020     Denielle Anguiano   Finish IDC; call with client and send to Ron for review.    0.5   $120.00    $60.00
                                  Phone call with client and State Farm representative
5/6/2020      Denielle Anguiano   regarding IDC insurance exhibit.                            0.2   $120.00    $24.00
                                  Conference with client advising of need for appraisals
                                  for all secured property; conferences with staff on
                                  preparing for hearing; email exchange with opposing
5/16/2020     Ronald Smeberg      counsel.                                                    0.6   $325.00   $195.00
                                  Client conference; discuss opening and closing with
                                  Craig O'Neil; review IDC docs; amend IDC docs;
5/19/2020     Ronald Smeberg      emails to the UST office.                                   0.6   $325.00   $195.00
5/21/2020     Ronald Smeberg      Prepare for and attend IDC with Larry Wright.               0.6   $325.00   $195.00
                                  Confer with R. Smeberg; attention to 2019 entity taxes;
5/31/2020     Denielle Anguiano   redact and save.                                            0.8   $120.00    $96.00

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5/31/2020    Ronald Smeberg      Work on schedules; email UST.                             1.2   $325.00   $390.00
                                 Confer with R. Smeberg regarding moved 341; draft
 6/1/2020    Denielle Anguiano   notice; file and mail out; take to post office.           0.9   $120.00   $108.00
                                 Attention to tax return; split in two parts and send to
 6/4/2020    Denielle Anguiano   US Trustee.                                               0.3   $120.00   $36.00
                                 Further work on schedules; email client; make
 6/4/2020     Ronald Smeberg     additional changes to schedules and email client.         0.4   $325.00   $130.00
 6/4/2020     Ronald Smeberg     Client conference, revise schedules, email to client.     0.2   $325.00    $65.00
 6/5/2020    Denielle Anguiano   Mail out of amended schedules                             0.8   $120.00    $96.00
 6/8/2020     Ronald Smeberg     Conferences with Larry Wright prior to 341 meeting.       0.5   $325.00   $162.50
 6/8/2020     Ronald Smeberg     Attend IDC Conference with Debtor's representative.       1.5   $325.00   $487.50
                                 Confer with R. Smeberg; Prepare joint order and
6/15/2020     Paige Burough      master service list notices.                               2    $120.00   $240.00
6/18/2020    Denielle Anguiano   Search DOJ site for 341 CD request form; send email.      0.4   $120.00    $48.00
                                 Revise both series petitions and schedules prepared by
                                 staff; email exchanges with client; file petitions and
6/19/2020    Ronald Smeberg      schedules with the Court.                                 1.4   $325.00   $455.00
                                 Prepare IDC checklist for 2 additional filings; send to
                                 client. Review docket for schedule filings and send to
 7/1/2020    Denielle Anguiano   debtor.                                                   1.2   $120.00   $144.00
                                 Email to debtor regarding IDC documents and 341
 7/2/2020    Denielle Anguiano   meetings.                                                 0.3   $120.00   $36.00
                                 Review and revise IDC docs for series. Email to client.
 7/2/2020    Ronald Smeberg      Email to UST.                                             0.4   $325.00   $130.00
 7/2/2020    Ronald Smeberg      Attend KrisJenn IDC                                       0.7   $325.00   $227.50
                                 Attend 341 meetings with Corporate Representative for
7/13/2020    Ronald Smeberg      Series ROW and Series Uvalde Ranch.                       2     $325.00   $650.00
                                 Review email regarding whether option to purchase
8/27/2020      Craig O'Neil      real property is an executory contract.                   0.1   $250.00    $25.00
8/28/2020      Craig O'Neil      Legal Research on executory contracts.                    1.2   $250.00   $300.00
                                 Discuss preliminary executory contracts with R.
8/28/2020      Craig O'Neil      Smeberg.                                                  0.4   $250.00   $100.00
                                 Conference with associate regarding research on
 8/28/2020    Ronald Smeberg     options as executory contracts.                           0.4   $325.00   $130.00
 8/31/2020     Craig O'Neil      Research option as an executory contract.                  1    $250.00   $250.00
12/11/2020   Denielle Anguiano   Send creditor matrix to counsel in adversarial matter     0.2   $120.00    $24.00



                                               Timekeeper Summary
             Name                      Hours            Rate                   Amount
             Ronald Smeberg            11.3            $325/Hour               $3,672.50
             Craig O’Neil              2.7             $250/Hour               $675.00
             Paige Burough             2               $120/Hour               $240.00
             Denielle Anguiano         6.2             $120/Hour               $744.00

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               Disbursements                                                   Amount
               Copies at $0.25/page                     127                    $31.75
               Postage                                                         $23.65
               Mileage                                                         $2.32

               BILLING SUMMARY
                       TOTAL FEES:                                             $5,331.50
                       TOTAL DISBURSEMENTS:                                    $57.72
                       TOTAL CHARGES FOR THIS BILL:                            $5,389.22


             MONTHLY OPERATING REPORTS
             FOR PROFESSIONAL SERVICES RENDERED

                                                                                                            AMOUNT
 DATE               USER                                DESCRIPTION                        TIME   RATE       OWED
                                   Discuss with R. Smeberg debtor's MOR; partially
6/12/2020      Denielle Anguiano   complete May MOR and send to J. Mires.                   0.4   $120.00    $48.00
                                   Email to Mires and debtor regarding May MOR;
6/30/2020      Denielle Anguiano   review, revise and redact; file.                         1     $120.00   $120.00
                                   Contact accountant; review MOR; conference with
6/30/2020      Ronald Smeberg      McCleod counsel                                          0.4   $325.00   $130.00
                                   Review, format, save and redact bank statement for
7/27/2020      Denielle Anguiano   June MOR                                                 0.4   $120.00    $48.00
                                   Review of June MOR; text exchange with debtor and
7/27/2020      Denielle Anguiano   email follow up.                                         0.3   $120.00    $36.00
                                   Review MOR from June; review new accountant
8/10/2020       Ronald Smeberg     engagement letter and email to now accountant.           0.2   $325.00    $65.00
8/13/2020      Denielle Anguiano   Save Jpeg files and convert to PDF                       0.3   $120.00    $36.00
                                   Prepare MOR for signature; scan and attached to PDF;
8/27/2020      Denielle Anguiano   rotate and redact pages.                                 0.4   $120.00    $48.00
8/28/2020      Denielle Anguiano   Review and file July MOR.                                0.3   $120.00    $36.00
                                   Review of MOR with debtor and obtain signature. Scan
9/14/2020      Denielle Anguiano   and save to file.                                        0.2   $120.00    $24.00
9/21/2020      Denielle Anguiano   Redact and file Aug MOR                                  0.3   $120.00    $36.00
                                   Call with L. Wright to arrange for MOR signature;
10/21/2020     Denielle Anguiano   prepare for filing; request bank statements.             0.5   $120.00    $60.00
10/22/2020     Denielle Anguiano   File September MOR                                       0.1   $120.00    $12.00
                                   Emails with debtor regarding report of operations;
11/23/2020     Denielle Anguiano   redact bank statements and file.                         1.4   $120.00   $168.00
12/23/2020     Denielle Anguiano   Email to CPA to request November MOR                     0.2   $120.00    $24.00
12/28/2020     Denielle Anguiano   Email to CPA to follow up on November MOR                0.1   $120.00    $12.00
                                   Email to CPA for November MOR; email exchanges
                                   with Debtor regarding the same; prepare MOR for
12/30/2020     Denielle Anguiano   filing                                                   1     $120.00   $120.00

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                                email to debtor regarding November MOR; prepare to
1/4/2021    Denielle Anguiano   file                                                      0.4   $120.00   $48.00
                                prepare invoice and Nov MOR for filing; send to R.
1/11/2021   Denielle Anguiano   Smeberg for review                                        0.7   $120.00   $84.00
1/21/2021   Denielle Anguiano   Email to accountant regarding December MOR                0.1   $120.00   $12.00
1/24/2021   Denielle Anguiano   review of December MOR                                    0.2   $120.00   $24.00
                                review of January MOR sent by Debtor and reformat
2/25/2021   Denielle Anguiano   for filing                                                0.5   $120.00   $60.00
                                save and redact bank statements; email to debtor
2/26/2021   Denielle Anguiano   regarding January MOR                                     1.5   $120.00   $180.00
 3/1/2021   Denielle Anguiano   email to accountant for MOR                               0.1   $120.00    $12.00
                                follow up email to accountant for MOR attachments;
                                redact and combine Jan MOR; email to debtor
3/10/2021   Denielle Anguiano   requesting review and signature of the same               0.6   $120.00   $72.00
                                redact combine bank statements to MOR; send to
3/17/2021   Denielle Anguiano   debtor for review                                         0.5   $120.00   $60.00
                                email correspondence with accountant regarding Feb
3/19/2021   Denielle Anguiano   MOR                                                       0.3   $120.00   $36.00
                                convert signature pages to PDF and prepare December
3/19/2021   Denielle Anguiano   and January MORs for filing; file                         1.3   $120.00   $156.00
3/22/2021   Denielle Anguiano   follow up email to accountant regarding MOR               0.1   $120.00    $12.00
                                combine and redact Feb MOR; send to debtor for
3/22/2021   Denielle Anguiano   review and signature                                      0.5   $120.00   $60.00
3/25/2021   Denielle Anguiano   prepare FEB MOR for filing; file                          0.3   $120.00   $36.00
4/27/2021   Denielle Anguiano   email to accountant requesting March MOR                  0.1   $120.00   $12.00
                                Receive bank statement from debtor; download and
5/5/2021    Denielle Anguiano   save to file.                                             0.2   $120.00   $24.00
5/7/2021    Denielle Anguiano   follow up email to accountant regarding MOR               0.2   $120.00   $24.00
                                combine and redact March MOR; send to debtor for
 5/7/2021   Denielle Anguiano   review and signature                                       1    $120.00   $120.00
5/19/2021   Denielle Anguiano   email to accountant requesting April MOR                  0.1   $120.00    $12.00
                                convert and redact April bank statement; email to
5/19/2021   Denielle Anguiano   accountant                                                0.5   $120.00   $60.00
                                combine signature page for March MOR; prepare for
5/19/2021   Denielle Anguiano   filing                                                    0.5   $120.00   $60.00
 6/1/2021   Denielle Anguiano   email to accountant requesting April MOR                  0.1   $120.00   $12.00
                                combine and redact April MOR; send to debtor for
6/3/2021    Denielle Anguiano   review and execution                                      0.7   $120.00   $84.00
6/3/2021    Denielle Anguiano   file March MOR                                            0.2   $120.00   $24.00
6/7/2021    Denielle Anguiano   email to debtor for signature request                     0.1   $120.00   $12.00
6/8/2021    Denielle Anguiano   convert signature page to PDF and file April MOR          0.5   $120.00   $60.00
                                email to L. Wright and accountant for follow up to June
7/19/2021   Denielle Anguiano   MOR                                                       0.2   $120.00   $24.00
7/19/2021   Denielle Anguiano   prepare May MOR for filing and file                       0.7   $120.00   $84.00
7/20/2021   Denielle Anguiano   email to accountant for June MOR                          0.1   $120.00   $12.00

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                                   combine and redact June MOR; send to client for
7/20/2021      Denielle Anguiano   review and signature                                         0.5   $120.00    $60.00
7/21/2021      Denielle Anguiano   send signed MOR to R. Smeberg for review                     0.1   $120.00    $12.00
7/22/2021      Denielle Anguiano   prepare June MOR for filing and file                         0.5   $120.00    $60.00
                                   review and send MOR to L. Wright for execution;
9/28/2021      Denielle Anguiano   follow up with text                                          0.5   $120.00    $60.00
                                   further redact MOR; convert signature pages to PDF
10/11/2021     Denielle Anguiano   and file July and August MOR                                 0.4   $120.00    $48.00

                                                 Timekeeper Summary
               Name                      Hours             Rate                    Amount
               Ronald Smeberg            0.6              $325/Hour                $195.00
               Denielle Anguiano         21.2             $120/Hour                $2,544.00

               BILLING SUMMARY
                       TOTAL FEES:                                                 $2,739.00
                       TOTAL DISBURSEMENTS:                                        $0.00
                       TOTAL CHARGES FOR THIS BILL:                                $2,739.00


             PLAN AND DISCLOSURE STATEMENT
             FOR PROFESSIONAL SERVICES RENDERED

                                                                                                                AMOUNT
 DATE               USER                               DESCRIPTION                             TIME   RATE       OWED
                                   Confer with R. Smeberg; Review draft bankruptcy
                                   plans and disclosure statement; Draft background for
6/26/2021       Paige Burough      inclusion in plans and disclosure statement                  1.8   $225.00   $405.00
                                   Confer with R. Smeberg; Prepare v1 disclosure
 7/3/2021       Paige Burough      statement                                                    1.4   $225.00   $315.00
                                   Prepare v1 plan for KrisJenn Ranch, KrisJenn Uvalde
 7/3/2021       Paige Burough      ranch, and KrisJenn Row                                      1.8   $225.00    $405.00
 7/5/2021       Paige Burough      Continue discourse statement and plan preparation            2.5   $225.00    $562.50
 7/6/2021      Ronald Smeberg      Work on KrisJenn joint disclosure statement                  3.5   $325.00   $1,137.50
 7/7/2021      Ronald Smeberg      Work on disclosure statement                                 3.5   $325.00   $1,137.50
 7/7/2021      Ronald Smeberg      Email staff instructions for editing disclosure statement    0.2   $325.00     $65.00
                                   Review R. Smeberg revisions; Prepare v3 disclosure
 7/8/2021       Paige Burough      statement                                                    1.6   $225.00   $360.00
                                   Review R. Smeberg revisions; Prepare consolidated
 7/8/2021       Paige Burough      plan                                                         2.3   $225.00   $517.50
 7/9/2021      Ronald Smeberg      Work on Disclosures Statement                                1.7   $325.00   $552.50
                                   confer with P. Burough regarding case status and
7/12/2021      Denielle Anguiano   strategy for Plan                                            0.2   $120.00    $24.00
7/12/2021      Denielle Anguiano   prepare Plan and Disclosure Statement for filing             0.5   $120.00    $60.00
                                                             27
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                                 Conference with John Muller and Larry Wright;
                                 conference with staff regarding plan and disclosure
                                 statement; final changes to plan; file plan and
7/12/2021    Ronald Smeberg      disclosure statement                                       0.7   $325.00   $227.50
7/12/2021    Ronald Smeberg      work on plan and disclosure statement                      2.1   $325.00   $682.50
                                 edit captions on plans; format as necessary and send to
7/16/2021    Denielle Anguiano   R. Smeberg for review                                      0.8    120      $96.00
                                 amendments to plan and disclosure statements of each
7/16/2021    Denielle Anguiano   debtor; reformat and prepare for filing                    2.3   $120.00   $276.00
                                 file amended plans and disclosure statement in each
7/19/2021    Denielle Anguiano   case                                                       0.7   $120.00   $84.00
                                 discuss with R. Smeberg plan amendment; email
7/20/2021    Denielle Anguiano   changes to Laura Worsham                                   0.3   $120.00   $36.00
                                 Confer with R. Smeberg; Prepare Motion to Reset.
7/29/2021     Paige Burough      Hearing on Disclosure Statement                            0.8   $225.00   $180.00
                                 Review and revise motion to continue disclosure
                                 statement hearing; email Laura Worsham; email
7/29/2021    Ronald Smeberg      exchange with Larry Wright. .                              0.7   $325.00   $227.50
                                 Conferences with John Muller and Laura Worsham
                                 regarding disclosure hearing; draft email confirming
                                 agreements on disclosure hearing; email court Deputy
 9/7/2021    Ronald Smeberg      regarding hearing.                                         0.5   $325.00   $162.50
                                 Prepare and travel to in-person disclosure hearing;
 9/8/2021    Ronald Smeberg      travel back to office                                      1.9   $325.00   $617.50
                                 Prepare orders for other two cases; attempt to file the
9/13/2021    Ronald Smeberg      orders as directed by the Court; email court clerk.        0.4   $325.00   $130.00
9/20/2021    Ronald Smeberg      Work on second amended plan                                0.7   $325.00   $227.50
9/23/2021    Ronald Smeberg      Work on second amended plan                                2.5   $325.00   $812.50
9/23/2021    Ronald Smeberg      Further work on plan.                                      1.2   $325.00   $390.00
9/24/2021    Ronald Smeberg      Further work on plan; amend disclosure statement           1.5   $325.00   $487.50
                                 Further work on amended disclosure statement and
9/26/2021    Ronald Smeberg      email client.                                              0.4   $325.00   $130.00
                                 Finalize plan and disclosure statement; work with staff
                                 on preparing for filing; file three plans and three
9/28/2021    Ronald Smeberg      disclosure statements.                                     0.9   $325.00   $292.50
                                 Review and format disclosure statement and plan for 3
9/28/2021    Denielle Anguiano   cases; prepare for filing. Send to R. Smeberg.             2     $120.00   $240.00
                                 Prepare for and attend disclosure hearing; conference
10/13/2021   Ronald Smeberg      with Natalie Wilson at court house; return to office.      1.3   $325.00   $422.50

                                               Timekeeper Summary
             Name                      Hours            Rate                    Amount
             Ronald Smeberg            23.7            $325/Hour                $7,702.50
             Paige Burough             12.2            $225/Hour                $2,745.00
             Denielle Anguiano         6.8             $120/Hour                $816.00


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     Disbursements                                      Amount
     Filing Fee                                         $188.00

     BILLING SUMMARY
           TOTAL FEES:                                  $11,263.50
           TOTAL DISBURSEMENTS:                         $188.00
           TOTAL CHARGES FOR THIS BILL:                 $11,451.50




                                 SERVICE LIST


 DEBTOR                      P.O. Box 149359              Uvalde, Texas 78801
 KrissJenn Ranch, LLC        Austin, TX 78714-9359
 410 Spyglass Rd                                          NOTICE PARTIES
 Mc Queeney, TX 78123-       Angelina County Tax
 3418                        Assessor                     METTAUER LAW FIRM
                             606 E Lufkin Ave,            c/o April Prince
 GOVERNMENT                  Lufkin, Texas 75901          403 Nacogdoches St Ste 1
 ENTITIES                                                 Center, TX 75935-3810
                             Nacogdoches County Tax
 Office of the UST           Assessor Collector           Albert, Neely & Kuhlmann
 615 E Houston, Room 533     101 West Main Street         1600 Oil & Gas Building
 PO Box 1539                 Nacogdoches, Texas           309 W 7th St
 San Antonio, TX 78295-      75961                        Fort Worth, TX 76102-
 1539                                                     6900
                             Rusk County
 U.S. Attorney               202 N Main St,               Laura L. Worsham
 Attn: Bkcy Division         Henderson, Texas 75652       JONES, ALLEN &
 601 NW Loop 410, Suite                                   FUQUAY, LLP
 600                         Shelby County, Tax           8828 Greenville Ave.
 San Antonio, Texas 78216    Collector                    Dallas, Texas 75243
                             200 St. Augustine St.
 Internal Revenue Services   Center, Texas 75935          Craig Crockett
 Special Procedures Branch                                CRAIG M. CROCKETT, PC
 300 E. 8th St. STOP 5026    Tenaha ISD Tax Assessor-     5201 Camp Bowie Blvd.
 AUS                         Collector                    #200
 Austin, TX 78701            138 College St               Fort Worth, Texas 76107
                             Tenaha, TX 75974-5612
 Texas Comptroller of                                     Christopher S. Johns
 Public Account              Uvalde Tax Assessor          JOHNS &COUNSEL
 Attn: Bankruptcy            Courthouse Plaza, Box 8      PLLC
                                         29
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 14101 Highway 290 West,     Carthage, TX 75633-2519     2308 18th St.
 ste 400A                                                Po Box 370
 Austin, Texas 78737         C&W Fuels, Inc.             Hondo, TX 78861-0370
                             Po Box 40
 Timothy Cleveland           Hondo, TX 78861-0040        Medina's Pest Control
 CLEVELAND|TERRAZA                                       1490 S Homestead Rd
 S PLLC                      Davis, Cedillo & Mendoza    Uvalde, TX 78801-7625
 4611 Bee Cave Road, ste     755 E Mulberry Ave Ste
 306B                        500                         Texas Farm Store
 Austin, Texas 78746         San Antonio, TX 78212-      236 E Nopal St
                             3135                        Uvalde, TX 78801-5317
 Andrew R. Seger
 KEY TERRELL &               Granstaff Gaedke &          Uvalco Supply
 SEGER                       Edgmon                      2521 E Main St
 4825 50th Street, ste A     5535 Fredericksburg Rd      Uvalde, TX 78801-4940
 Lubbock, Texas 79414        Ste 110
                             San Antonio, TX 78229-      Longbranch Energy
 SECURED                     3553                        c/o DUKE BANISTER
 CREIDITORS                                              RICHMOND
                             Hopper's Soft Water         Po Box 175
 McLeod Oil, LLC             Service                     Fulshear, TX 77441-0175
 c/o John W. McLeod, Jr.     120 W Frio St
 700 N Wildwood Dr           Uvalde, TX 78801-3602       DMA Properties, Inc.
 Irving, TX 75061-8832                                   896 Walnut Street at US
                             Larry Wright                123 BYP
 UNSECURED                   410 Spyglass Rd             Seneca, SC 29678
 CREIDITORS                  Mc Queeney, TX 78123-
                             3418
 Bigfoot Energy Services
 312 W Sabine St             Medina Electric




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